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    Average flight costs: Travel, airfare and flight statistics
    2024
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    BLUEPRINT
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    Key points
         Flight costs at major U.S. airports have increased an average of 29% since 2021.
         Of the 100 busiest airports in the U.S., Orlando Sanford International Airport has the cheapest
         flights.
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    The most expensive airport to fly out of is Ted Stevens Anchorage International, and Atlanta’s
    Hartsfield-Jackson International Airport is the busiest airport in the country to travel through.

The United States has 19,969 airports, according to the most recent data from the Bureau of
Transportation Statistics.1 Of those, 5,193 are for public use and 14,776 are private airports.2 Below,
we’ll break down important airfare and flight statistics across these major airports, with a
particular focus on:

    Flight costs and how they’ve changed in recent years.
    The cheapest airports to fly out of.
    The most expensive airports to fly out of.
    The busiest airports and times to travel.
    How to find the cheapest flights.


What are the cheapest and most expensive
airports in the U.S.?
Of the nearly 450 major U.S. airports tracked by the United States Department of Transportation,
the most expensive airport is Guam International Airport. Airline tickets there cost an average of
$1,725.11.1

The cheapest airport to fly out of in the United States is Mobile International Airport in Mobile,
Alabama, where ticket costs average $78.65.1

However, if we narrow down our analysis to major airports only — the 100 busiest by passenger
volume — then the cheapest airport in the U.S. is Orlando Sanford International Airport in
Sanford, Florida, where the average flight costs $126.48.1

And of those 100 busiest airports, Ted Stevens Anchorage International in Anchorage, Alaska, is
the most expensive airport. Here, the average ticket costs $516.95.1


Average flight costs at major airports
The average airfare for a roundtrip flight within the U.S. is $367.79.1 But the airport you choose
can have a major impact on how much you’ll spend on a flight.

The table below shows the average cost of airfare at the 100 busiest airports in the U.S.
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Average airfare at major U.S. airports

     Search in table                                                                          Page 1 of 7



                Airport                                Average airfare            Passenger volume rank

Ted Stevens Anchorage
                                                             $516.95                         70
International

Dane County Regional-Truax Field                             $492.89                         94

Birmingham-Shuttlesworth
                                                             $473.47                         81
International

Washington Dulles International                              $466.31                         42

Tucson International                                         $449.16                         74

Greenville-Spartanburg
                                                             $443.03                         88
International

Bill and Hillary Clinton Nat Adams
                                                             $432.30                         93
Field

Palm Springs International                                   $427.46                         96

McGhee Tyson                                                 $426.72                         85

Will Rogers World                                            $424.58                         68

Charlotte Douglas International                              $423.28                         29

Albany International                                         $422.42                         80

Bozeman Yellowstone
                                                             $419.80                         97
International

San Francisco International                                  $419.02                         11

Tulsa International                                          $418.78                         77



Source: Bureau of Transportation Statistics • Get the data • Embed
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What are the cheapest flights and most
expensive flights?
Of the 1,000 largest city-pair markets in the 48 contiguous states, the most expensive average fare
is for the flight from Eagle, Colorado, to Miami, Florida, which costs an average of $676.89.3

The cheapest flight goes from Orlando, Florida, to Trenton, New Jersey, and costs an average of
$78.73 per ticket.3

The longest flight in the contiguous U.S. is Miami, Florida, to Seattle, Washington, at 2,724 miles.
The shortest major flight in the contiguous U.S. is Portland, Oregon, to Seattle, Washington, at only
129 miles.3

There are more than 45,000 daily flights in the U.S., according to the Federal Aviation
Administration (FAA).4 When looking at domestic flights, here are the 25 cheapest flights and the
25 most expensive flights by average ticket price.3
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Cheapest domestic flights in the U.S.

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                                                                              Average             Daily
                  Origin                                Destination            airfare         passengers

Orlando, FL                                         Trenton, NJ             $78.73                  456

Asheville, NC                                       Sanford, FL             $81.75                  195

Los Angeles, CA (Metropolitan Area)                 Provo, UT               $84.83                  310

Tampa, FL (Metropolitan Area)                       Trenton, NJ             $85.00                  236

Knoxville, TN                                       Sanford, FL             $86.07                  396

New Haven, CT                                       Raleigh/Durham, NC      $86.36                  244

Belleville, IL                                      Valparaiso, FL          $86.78                  224

Phoenix, AZ                                         Provo, UT               $86.89                  333

Atlantic City, NJ                                   Orlando, FL             $90.10                  401

Allentown/Bethlehem/Easton, PA                      Sanford, FL             $90.39                  432

Latrobe, PA                                         Orlando, FL             $93.08                  223

Cincinnati, OH                                      Sanford, FL             $93.88                  292

Fort Myers, FL                                      New Haven, CT           $96.81                  230

                                                    Miami, FL
Atlantic City, NJ                                                           $97.16                  246
                                                    (Metropolitan Area)

                                                    West Palm
New Haven, CT                                       Beach/Palm Beach,       $98.46                  225
                                                    FL



Source: Bureau of Transportation Statistics • Get the data • Embed
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Most expensive domestic flights in the U.S.

    Search in table                                                          Page 1 of 2



                                                        Average
            Origin               Destination             airfare        Daily passengers

                            Miami, FL
Eagle, CO                                            $676.89                    202
                            (Metropolitan Area)

                            New York City, NY
Aspen, CO                                            $614.10                    242
                            (Metropolitan Area)

                            New York City, NY
Eagle, CO                                            $555.65                    390
                            (Metropolitan Area)

                            New York City, NY
Jackson, WY                                          $549.64                    254
                            (Metropolitan Area)

New York City, NY           San Francisco, CA
                                                     $504.32                   5,320
(Metropolitan Area)         (Metropolitan Area)

                            San Francisco, CA
Philadelphia, PA                                     $481.35                    793
                            (Metropolitan Area)

                            San Francisco, CA
Raleigh/Durham, NC                                   $473.21                    659
                            (Metropolitan Area)

Boston, MA (Metropolitan    San Francisco, CA
                                                     $471.55                   3,391
Area)                       (Metropolitan Area)

Charlotte, NC               Seattle, WA              $466.19                    447

Norfolk, VA (Metropolitan
                            San Diego, CA            $465.65                    300
Area)

Raleigh/Durham, NC          San Diego, CA            $465.35                    303

Philadelphia, PA            Portland, OR             $462.38                    223

                            Los Angeles, CA
Albany, NY                                           $460.14                    217
                            (Metropolitan Area)

Atlanta, GA (Metropolitan
                            Portland, OR             $458.34                    505
Area)

San Francisco, CA           Washington, DC
                                                     $456.84                   3,454
(Metropolitan Area)         (Metropolitan Area)

                            S   F    i      CA
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                                        San Francisco, CA
  Cincinnati, OH                                                       $455.05                   298
                                        (Metropolitan Area)

  Philadelphia, PA                      San Diego, CA                  $454.95                   584

                                        New York City, NY
  Fayetteville, AR                                                     $454.60                   187
                                        (Metropolitan Area)

  New York City, NY
                                        Seattle, WA                    $453.51                   964
  (Metropolitan Area)

  Los Angeles, CA                       New York City, NY
                                                                       $451.42                  13,206
  (Metropolitan Area)                   (Metropolitan Area)



  Source: Bureau of Transportation Statistics • Get the data • Embed


How have flight prices changed in recent
years?
Since 2021, the average price of a roundtrip ticket has increased 29%, meaning people are paying
$86 more than they were just a few years ago.1

What’s behind these airfare increases? Greater demand, higher fuel prices and airline capacity
issues are the main reasons for the increase in flight costs. However, price hikes have hit some
airports harder than others.

Minneapolis-St. Paul Regional Airport has experienced the biggest increase in average airfare by
origin city at 48%. In all, flight prices have increased at 97 of the nation’s 100 busiest airports.
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Airfare changes at major U.S. airports

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                                           Average airfare in        % change since       $ change since
             Airport                             2023                    2021                  2021

Minneapolis-St. Paul
                                                     $422                  48%                  $136
International

Spokane International                                $451                  46%                  $142

Chicago O'Hare International                         $391                  43%                  $118

Philadelphia International                           $420                  43%                  $126

Pensacola International                              $435                  42%                  $130

Southwest Florida
                                                     $367                  42%                  $109
International

Boise Air Terminal                                   $421                  42%                  $125

Detroit Metro Wayne County                           $429                  41%                  $126

Miami International                                  $346                  41%                  $100

Bozeman Yellowstone
                                                     $434                  41%                  $125
International

Dane County Regional-Truax
                                                     $548                  40%                  $157
Field

Seattle/Tacoma International                         $410                  40%                  $117

Tucson International                                 $475                  39%                  $133

Reno/Tahoe International                             $419                  39%                  $117

Palm Springs International                           $441                  39%                  $123


Scroll through the pages for data on 100 busiest airports

Source: Bureau of Transportation Statistics • Get the data • Embed
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What is the busiest airport in the United
States?
Atlanta’s Hartsfield-Jackson International Airport is the busiest airport in the United States, with
61,226,507 passenger seats available in 2023.5 The table below showcases the top 10 busiest
airports in the U.S. last year.


  Busiest airport in the U.S.

       2023 Ranking                              Airport Name                         Passenger volume

               1                     Atlanta Hartsfield-Jackson Intl Apt                 61,226,507

               2                     Dallas Dallas/Fort Worth Intl Apt                   48,083,921

               3                     Denver Intl Apt                                     46,743,622

               4                     Los Angeles International Apt                       44,482,633

               5                     Chicago O'Hare International Apt                    43,708,796

                                     New York J F Kennedy International
               6                                                                         37,775,533
                                     Apt

               7                     Las Vegas Harry Reid Intl                           35,251,098

               8                     Orlando International Apt                           34,505,145

               9                     Charlotte                                           31,613,846

               10                    Miami International Apt                             30,175,956



  Source: USA TODAY Blueprint via OAG • Get the data • Embed




What is the busiest airport in the world?
Atlanta’s Hartsfield-Jackson International Airport isn’t only the busiest airport in the United
States, it’s also the busiest airport in the world. Dubai International and Tokyo International round
out the top three, but in all, five of the 10 busiest airports in the world are located in the U.S.5
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  World's busiest airports

       2023 Ranking                              Airport Name                           Passenger volume

               1                       Atlanta Hartsfield-Jackson Intl Apt                 61,226,507

               2                       Dubai International                                 56,504,042

               3                       Tokyo Intl (Haneda)                                 52,692,487

               4                       London Heathrow Apt                                 49,370,859

               5                       Dallas/Fort Worth Intl Apt                          48,083,921

               6                       Denver Intl Apt                                     46,743,622

               7                       Istanbul Airport                                    46,399,238

               8                       Los Angeles International Apt                       44,482,633

               9                       Chicago O'Hare International Apt                    43,708,796

               10                      Guangzhou (CN)                                      43,425,916



  Source: OAG • Get the data • Embed




What are the busiest air travel days of the
year?
Sunday after Thanksgiving is the busiest travel day of the year at U.S. airports. Last year, 2,908,785
people flew nationwide on that day.6 Traveling around Christmas can also be chaotic, especially on
Dec. 22.

Of the 15 busiest days of the year for air travel at U.S. airports, most occur during the summer
months of June and July, though October also has its fair share of busy air travel days.

The slowest plane travel day is Jan. 31, with 1,534,786 people traveling through America’s airports.
On average 2,352,187 people travel by plane each day in the U.S.
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  Busiest travel days at U.S. airports in 2023

                        Day                                                   Passenger volume

                      Nov. 26                                                          2,908,785

                      Jun. 30                                                          2,884,783

                      Jul. 30                                                          2,815,068

                      Jul. 23                                                          2,800,368

                      Oct. 15                                                          2,797,326

                      Jul. 28                                                          2,787,676

                      Jun. 16                                                          2,785,332

                      Jul. 21                                                          2,782,146

                      Dec. 22                                                          2,775,193

                      Jun. 23                                                          2,771,672

                      Oct. 22                                                          2,770,224

                      Jun. 25                                                          2,769,270

                      Oct. 06                                                          2,762,717

                      Jun. 29                                                          2,759,141

                      Jul. 20                                                          2,754,386



  Source: USA TODAY via Transportation Security Administation • Get the data • Embed




What are the busiest months for air travel?
Despite dates in November and June being the top two busiest days for air travel last year, the
busiest month for air travel overall was July. In July 2023, 79,847,051 people traveled by plane in
the U.S.

June and August were similarly busy, with roughly 77 million and 75 million air travelers
respectively. February is the slowest travel month of the year, with 58.3 million passengers in the
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United States, though it also has fewer days than other months.

The table below shows the total passenger volume at U.S. airports each month in 2023.


  Busiest travel month of the year at U.S. airports

       Search in table


                          Month                                               Passenger volume

                            July                                                    79,847,051

                           June                                                     77,156,198

                          October                                                   75,729,083

                          August                                                    75,366,022

                            May                                                     74,561,756

                         December                                                   72,562,140

                           March                                                    71,919,462

                         November                                                   71,707,878

                           April                                                    70,216,926

                         September                                                  70,213,668

                          January                                                   60,906,882

                         February                                                   58,361,130



  Source: Transportation Security Administration • Get the data • Embed




What is the cheapest day of the week to fly?
Tuesday and Wednesday are the cheapest days to fly domestically, according to data from Hopper.7
Saturday and Sunday are the most expensive days to fly within the U.S.

Below is the average airfare for each day of the week for domestic flights.
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  Average airfare by day of the week

                              Day                                            Average airfare

  Sunday                                                                             $392

  Monday                                                                             $315

  Tuesday                                                                            $243

  Wednesday                                                                          $248

  Thursday                                                                           $328

  Friday                                                                             $373

  Saturday                                                                           $374


  The data was provided direct from Hopper to USA TODAY Blueprint

  Source: USA TODAY Blueprint via Hopper • Get the data • Embed




When is the best time to book a flight?
The best time to book a flight is 25 to 38 days before departure if you are traveling domestically,
according to Expedia.8 The best time to book a flight if you are traveling internationally is about
two months before departure, though you are taking a gamble that flights won’t sell out by then.

Booking a domestic flight a month before departure is 10% cheaper than booking at the last
minute, on average. Booking for international flights peaks early — you’ll generally need to buy
your tickets six months before departure to save that 10% on airfare.


Which airline has the most canceled or delayed
flights?
Frontier Airlines had the most delayed flights in 2023, with 33% of flights delayed. Delta Airlines
had the fewest delayed flights; only 16% of Delta flights were delayed last year.1

JetBlue had the highest number of canceled flights in 2023, with more than 2.6% of flights getting
canceled. Alaska Airlines had the fewest canceled flights in 2023. Less than 1% of the airline’s
flights were canceled in 2023.1
           Case 3:24-cv-02311-TSH              Document 57-18            Filed 10/08/24    Page 15 of 21
Buying travel insurance can help protect you financially if your flight is delayed or canceled. Trip
delay is one of the key things covered by travel insurance. Given the major issues airlines have with
daily flight cancellations and delays, getting an affordable travel insurance policy is a wise idea.

Below is a list of each major airline’s percentage of on-time, delayed, canceled and diverted flights.
In all, 77% of airline flights were on time, 21% were delayed, 1.45% were canceled and 0.25% were
diverted in 2023.1


  Airlines with the most canceled or delayed flights

       Airline                % on time               % delayed              % cancelled          % diverted

  Alaska                            81.09%                      18.01%                0.67%                0.23%

  Allegiant                         72.22%                      26.80%                0.68%                0.30%

  American                          77.68%                      20.72%                1.31%                0.29%

  Delta                             82.59%                      15.74%                1.46%                0.21%

  Frontier                          64.67%                      32.69%                2.44%                0.20%

  Hawaiian                          73.14%                      25.43%                1.34%                0.08%

  JetBlue                           65.00%                      31.92%                2.61%                0.47%

  Southwest                         75.66%                      23.17%                0.93%                0.23%

  Spirit                            68.15%                      29.66%                1.93%                0.25%

  United                            77.11%                      20.58%                2.01%                0.30%



  Source: Department of Transportation • Get the data • Embed




How much is travel insurance?
Given the volatility of the airline industry, it’s a good idea to purchase comprehensive travel
insurance when booking a flight. On average, travel insurance costs between 5% and 6% of your
nonrefundable trip expenses.

That means insuring a $10,000 trip (all nonrefundable) might cost $500 to $600. Insuring a much
less expensive trip (say $1,000) would thus be more affordable ($50 to $60).
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Not sure where to purchase a policy? Start with our roundup of the best travel insurance companies
of 2024.


Article sources
 1. Bureau of Transportation Statistics
 2. Statista
 3. U.S. Department of Transportation
 4. Federal Aviation Administration
 5. OAG
 6. Transportation Security Administration
 7. Hopper
 8. Expedia

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